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                                    UNITEDSTATESDISTRICTCOURT                                    SEALED
                                 SO U THER N DISTRIC T O F FLO RIDA
                               CASE N O .I7-8X K -CR-RO SENBERG /H U NT

        UNITED STATES O F AM ERIC A                                                      -   SEALED

                                                                                         -   NOT SEALED
               V.
                                                                          PerLocalRule 5.4(d),thematterts)
        A LEJAN DRO AND R ADE CEDENO ,                                    shallrem ain scaled.
               Defendant.                                                      years;     (specificdate);
                                               /                               permanently;       (other).

                                  O RDER FO R INTER LO CUTO RY SA LE
                           OF CERTM N ASSETS SUBJECT TO FORFEITURE
               THIS M ATTER isbefore the Coun on m otion ofthe United StatesofAm erica, pursuant

        toRule32.2(b)(7)oftheFederalRulesofCriminalProcedureand21U.S.C.j853(e),forentryof
        an orderauthorizing the interlocutory saleofcertain assetssubjectto forfeiture in the above-
        captioned m atterin orderto preserve and m axim ize theirvalue forcrim inalforfeiture.

               TheCourthaving review ed the United States'U nopposed M otion forlnterlocutory Salc of

        CertainAssetsSubjecttoForfeiture,and findingthattheexpenseofmaintainingthehorses,real
        properties,vehicles,and watchespending theirfinalforfeiture would dissipate theirvalue and/or

       thattheirinterlocutory saleswould exptdite these forfeiturt proceedings and m axim ize the value

        ofthe assetssoughtforforfeitlzre,and forgood cause show n, itishereby,

               O RDERED AND A DJU DG ED thatthe United States'M otion isG R AN TED .

               ItisfurtherO RDER ED AND A DJUDG ED that:

                      The United States of Am erica.through appropriate personnelincluding agents of

       theU.S.DepartmentofTreasury,HomelandSecurityInvestigationsCtHSI''),CustomsandBorder
       Protection(tCBP'')includingpersormelfrom itsFines,PenaltiesandForfeituresofficeCçFP&F'')
       ortheirdesignees,(collectively,the'<unitedStates'')withoutfurtherorderofCourt,isauthorized
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    tomarketandsellthefollowingspecificassets(theifertainSubjectAssets''):
          RealEstate
          (1)    15231 Sunnyland Lane,svellington,Florida 33414,including allbuildings,
                 fixtures,appurtenances,im provem ents,attachm ents and easem ents found therein
                 orthereon,and which is more fully described as:

                 Lot 19,Block 5,PA LM BEACH PO IN T,according to the m ap orplatthereof as
                 recorded in PlatBook 33,Page 133,Public RecordsofPalm Beach County,Florida;
                 ParcelldentiGcation Num ber:73-41-44-19-01-005-0190;

                 15680 and 15740 46th Lane S, W ellington, Florida 33414, including a11
                 buildings, fixtures, appurtenances, im provem ents, attachm ents and easem ents
                 found therein orthereon,and w hich are m ore fully described as:

                 A parcelof land lying in Section 30,township 44 South,Range 41,Palm Beach
                 county,Flodda being described as follows:ELY 311.76 FT OF W 1-Y 1858.58 FT
                 LY G S & A DJ TO PA LM BEA CH POINT A S IN P833P133 & N & A DJ TO C-
                 27 R/W A/K/A TR 5,PublicRecordsofPalm Beach County,Florida;
                 ParcelIdentification Num ber:73-41-44-30-00-000-7010;and

                 A parcelof land lying in Section 30.tow nship 44 South,Range 41,Palm Beach
                 county,Florida being described as follow s:W LY 311.76 FT OF ELY4101.38 FT
                 OF TH PT OF SEC LYG N OF & A DJTO C-27 CN L R/W & SOF & PA RA LLEL
                 TO LTS 12 & 132Public RecordsofPalm Beach County,Florida;
                 ParcelIdentificatlon Num ber:73-41-44-30-00-000-7050;

                 1290 N .Ocepn Boulevard,Palm Beach,Florida 33480,including a1lbuildings,
                 fixtures,appo enances,improvements,attachmentsandeasementsfound therein
                 orthereon,and which is m ore fully described as:

                 TheN orth 33.89 feetto Lot25-A and A LL ofLot26-A ofBELLO LID O ,according
                 to the Platthereof,as recorded in PlatBook 11,atPage 37,ofthe Public Records
                 ofPalm Beach County,Florida;and Lot4 ofRe-platofBELLO LIDO ,according
                 to the Platthereof,as recorded in PlatBook 24,atPage 171,ofthe Public Records
                 ofPalm Beach County,Florida;
                 Parcelldentiscation N um ber:50-43-43-03-06-000-0251;

          (4)    16912 Crown Bridge Drive, Del Ray Beachy Florida 33446, including all
                 buildings, fixtures, appurtenances, im provem ents, attachm ents and casem ents
                 found therein orthereon,and which is m ore fully described as:

                 Lot 159,Bridges - Plat Four,according to the m ap ofplatthereofas recorded in
                 Plat115 page 56,public recordsofPalm Beach County,Florida;
                 ParcelIdentification Num ber:00-42-46-29-10-000-1590;
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                15159 Sunnyland Lane. W ellingtom Florida 33414, including a1l buildings,
                tixttlres,appurtenances,im provem ents,attachm ents and easem ents found therein
                orthereon,and w hich ism ore fully described as:

                Lots20 & 21,Block 5,PA LM BEACH PO INT,accordingto them ap orplatthereof
                as recorded in Plat Book 33,Page 133,Public Records of Palm Beach County,
                Florida;
                Parcelldentification N umber:73-41-44-19-01-005-0200;

         Vehicles
         (6)    2017 Mercedes Benz GLS 550, Vehicle Identification Number ($'V1N'')
                4JG DF7DE8HA 893079;
         (7)    2017MercedesBenzAM G G-63;
         (8)    2017CadillacEscalade,VlN 1GYS4KKJ4HR135174;
         (9)    2016PorscheCayerme,Vm W P1AC2A26GLA86557;
         (10)   2016ChevyTahoe;
         (11)   2016MercedesBenzAM G S-63,VIN W DDXJ7JB3GA012139
         (12)   2015BentleyContinentalConvertible,VIN SCBGJ3ZA2FC044777;
         (13)   2015ChevroletSilverado2500,Vm 1GC4KYC83FF180852;
         (14)   2014DodgeRnm 3500;
         (15)   2013Toyota4Runner,Vm JTEZU5JR4D5048434;
         (16)   2009CimarronHorseTrailer,Vm 5PA11G34249C006294;
         (17)   Lawnmower/tractor;
         (18)   Three(3)golfcarts;
         Horses
         (19)   AnastasiaDuPark;
         (20)   Bonjovi;
         (21)   BoylV;
         (22)   Clouwni;
         (23)   Cortina186;
         (24)   Dipssy;
         (25)   HardrockZ;
         (26)   Jenni'sChance;
         (27)   JolyJumper;
         (28)   Leonardo RGS;
         (29)   NokiadeBrekka;
         (30)   QuilinaVD LaarseheideZ;
         (31)   ReusdelaNutria;
         (32)   RicoreCourcelle'
                               ,
         (33)   TupacVandeVrombautshoeve2;
         (34)   U;
         (35)   TinkerBell;
         Watches
         (36) Rolex DaytonaCosmograph (platinum)watch,reference(<&Ref'')116506,


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              serialnumberC<SN'')L900LJ410;
         (37) Rolex Yacht-Master11(whitegoldandplatinum)watch,Ref116689,SN
               V 773093;
         (38) RolexSky-Dweller(yellow gold)watch,Ref326938,SN 58W 365Z29
         (39) HublotBig Bang King (rose gold and black dial)watch,Ref322,SN
               762177;
         (40) HublotBig Bang King Black Magic(black titanium andceramic)watch,
               Rcf322,SN 737211;
         (41) HublotBig Bang Cluonography Tourbillon 20th Almiversary ofFerrari
              watch,Limited4of20,Ref308.QX.1lIO.HR.SCFII,SN 930027;
         (42) HublotKingPower(blacktitanium andceramic)watch,Limited 8 of35,
               SN 860397;
         (43) HublotBigBangUEFA (blacktitanium andceramic)watch,Limited 1557
               of2008,Ref318,SN 739956;
         (44) HublotBigBangYankeeVictor(stainlesssteel)watch,Limited29of100,
               Ref301,SN 689869;
         (45) HublotKing Power(titanium andzirconium,rubberband)watch,Limited
               244 of500,SN 823700;
         (46) HublotKingPowerLavinotintoChronograph(blacktitanium andceramic)
               watch,Limited 11of40,SN 977783;
         (47) Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / lA-00l,
               M ovem entN o 5998681,SN A384FBC;
         (48) PatekPhilippeNautilusAnnualCalendar(stainlesssteel)watch,Ref5726/
               1A-001,M ovem entNo 5334786,SN A384FAP;
         (49) Patek PhilippeNautilusmanual(rosegoldand stainlesssteel)watch,Ref
               5980 / 1A R-00l,M ovem entNo 5928544,SN A3841A P;
         (50) AudemarsPiguetRoyalOak Offshore Chronograph (rosegold and black
              nzbberband)watch,Ref3850,SN G29840;
              AudemarsPiguetRoyalOak OffshoreSafariClzronograph(stainlesssteel
              andbrownband)watch,No5446,Ref26170,SN 643443;
         (52) AudemarsPiguetRoyalOak OffshoreChronograph BumbleBee(carbon)
               watch,No 2376,Ref26176,SN 48097;
         (53) AudemarsPiguetRoyalOakOffshore(stainlesssteel)watch,No1836,Ref
               26170,SN 6 17332;
         (54) RogerDubuisEasy DiverTourbidiver(stainlesssteel)watch,Movement
               No RD05,SN 13/88;
         (55) RogerDubuisM uchMore(rosegold)watch,SN 23/28,stamped750;
         (56) PaneraiLuminorMonopulsanteGMT Chronograph(titanium andceramic)
               w atch,Lim ited L005 of500,No 0P6752,RefPAM 00317,SN 88 1458977;
         (57) PaneraiLuminorSubmersibleDiversProfessional(stainlesssteel)watch,
               Lim ited J459 of700,N o OP6701,SN 88 1253185;
         (58) PaneraiLuminor(stainlesssteel)watch,LimitedK198of500,No0P6726,
               SN P80596207;
         (59) lW C PilotSpitfireCkonopaph PerpetualCalendar(yellow gold)watch,
               No AU 750,Ref1W 379103,SN 50741324
          (60) JaegerLeCoultreM asterCompressorDivingGMT watch,Ref159.7-.05,


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                 SN 2471271;
                 Jaeger Le Coultre M aster Compressor Diving Chronograph (rose gold)
                 watch,Ref 160.2.25,SN 24693324
          (62) Jaeger Le Coultre Master Grande Tradition Minute Repeater manual
               (titanium)watch,Limited65of100,Ref 187.T.67.5,SN 2653359;
          (63) FrankMullerCasablanca(stinlesssteel)watch,No 10l8,Ref8885C CC
                 D T;
          (64) FrankMullerM ariner(stainlesssteelandreddial)watch,No69,Ref908
                 CC A T M ar;
          (65) FrankM ullerM arinerCluonograph(stainlesssteelandbluedial)watch,No
                 29,Ref8080 CC A T M ar;
          (66) FrankVilaTourbillonPlanetaireSkeletonSuperLigeroConcept(titanium)
                 w atch,Lim ited 3 of8,RefFV A N 6;
          (67) FrankVilaChronograph(titanium)watch,Limited3of48,RefFVAIO;
          (68) Greubel Forsey GMT Global Doublc Tourbillon (white gold) watch,
                 Lim ited 28 of33,RefG F GM T W G ,stam ped A.
                                                             U 750 02 669;
          (69) 1W C SchafthausenBigPilotAntoinedeSaintExuperyEdition (rosegold)
                 w atch,Lim ited 35 of500,Ref1W 500421,SN 3427442;and
          (70) RolexDaytonaCosmograph(yellow goldandbluedial)watch,Refll6528,
                  SN 52U M 9527.

          2.     The United States,w ithoutfurtherorderofthe Court,isauthorized,pursuantto thc

   applicable laws,to execute docum ents,to transfertitle,and to otherw ise effectthe transferofall

   right,title,andinterestintheCertain SubjectAssetstoanypurchaserthereof;
          3.     In furtherance ofthe interlocutory sales,the United States isauthorized to conduct

   inspections, inventories, and appraisals, and take any other action necessary to m aintain or

   preservethevalueoftheCertainSubjectAssets,ortoensureanimalwelfare,pendingthesaleof
   theCertain SubjectAssets'
                           ,
                  The Certain SubjcctAssetsshallbe sold forthe bestand highestmarketprice
   reasonably obtainable'
                        ,

          5.      TheUnitedStatesshallbereimbursedfrom thesaleproceedsoftheCertainSubject
   Assets foral1costsand expenses incurred in theirseizure and/orm aintenance in accordance with

   the appropriate statutes;

          6.      Thenetproceedsfrom thesalesoftheCertainSubjectAssets,followingpayment


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       ofthe costs and expenses,shallbe held by the U nited States,pending furtherorderofthe Court;

       and
                      TotheextcntanylienorothcrinterestinanyoftheCertainSubjectAssetsexists,
       the interlocutory saleproceedsw illreplacethatparticularasset. Aûeran assetissold,itisordered

       thatany existing interestwillnotattach to thatassetand willinstead attach to the nttproceeds

       from the sale ofthe asset.



                D O NE AN D O RD ERED in W estPalm Beach,Florida,this     IV < dayofNovember,

        2018.




                                                                  X . o
                                                          HONJYOBIN L.ROSENBERG
                                                          UN ITED STATES D ISTRIC J         G




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